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                           COMMONWEALTH OF MASSACHUSETTS
       Suffolk, ss.




                   Be it remembered, that at the Supreme Judicial Court holden at Boston
     within and for said County of Suffolk, on the                                                         twenty-third
     day of                            May                             a.d. 2001, said Court being the highest Court

     of Record in said Commonwealth:


                                                 Sarah Heaton Concannon


    being found duly qualified in that behalf, and having taken and subscribed
    the oaths required by law, was admitted to practice as an Attorney, and, by virtue
    thereof, as a Counsellor at Law, in any of the Courts of the said Commonwealth:
    that said Attorney is at present a member of the Bar, and is in good standing
    according to the records of this Court*.


                   In testimony whereof, I have hereunto set my hand and affixed the
                                seal of said Court, this twenty-eighth day of January

                                                 in the year of our Lord two thousand and twenty-two.




* Records of private discipline, if any, such as a private reprimand imposed by the Board of Bar Overseers or by any court, are not covered by this certification. X3116.
